














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD 1596-07





	ALEX BALDOMINO, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE SEVENTH COURT OF APPEALS


AMARILLO COUNTY


		



	Per curiam.  Keasler and Hervey, JJ., dissent. 


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 9.3(b),
because the original petition is not accompanied by 11 copies.  The petition for discretionary
review also violates Rule of Appellate Procedure 68.4(i), because it does not contain a
complete copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals of Texas within thirty (30) days after the date of this order.

En banc.


Delivered:   December 5, 2007

Do Not Publish.


